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57                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                  219 SOUTH DEARBORN STREET
                                     CHICAGO, ILLINOIS 60604

THOMAS G. BRUTON                              1/22/2015
         CLERK                                                                          312-435-5698




In Re: Elliott et al v. Mission Trust Services, LLC et al

USDC for the Northern District of Illinois Case No: 15 CV 650

This is to advise the parties that the above titled case has been electronically transferred
to the Northern District of Illinois from the Western District of Texas, Elliott et al v. Mission
Trust Services, LLC et al, (1:14-cv-00972).The case has been assigned number 15 CV
650 to the Honorable Thomas M. Durkin.

The purpose of this letter is to inform you that the Local Rule 83.15 of this Court require
that an appearance form be filed by an attorney who intends to represent a party in any
proceeding before this Court.

For further information, you may visit our website address at: www.ilnd.uscourts.gov for
the United States District Court, Northern District of Illinois, Eastern Division.


                                                      Sincerely yours,
                                                      Thomas G. Bruton, Clerk


                                                      By:   /s/ Marsha E. Glenn
                                                                Deputy Clerk
